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                                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                  WAYMO LLC,                                 CASE NO. 3:17-cv-00939-WHA

                                 Plaintiff,                  PLAINTIFF WAYMO LLC’S
                                                                ADMINISTRATIVE MOTION TO FILE
                        vs.                                  UNDER SEAL PORTIONS OF ITS
                                                                NOTICE OF SUBMISSION OF
                  UBER TECHNOLOGIES, INC.;                   DEPOSITION DESIGNATION PACKETS
                     OTTOMOTTO LLC; OTTO TRUCKING
                  LLC,

                                 Defendants.

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01980-00104/9839362.1                                                           CASE NO. 3:17-cv-00939-WHA
                                                                       WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                  1            Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully

                  2 requests to file under seal portions of its Notice of Submission of Deposition Designation Packets.

                  3 Specifically, Waymo requests an order granting leave to file under seal the portions of the

                  4 documents as listed below:

                  5                           Document                    Portions to Be Filed         Designating Party
                                                                               Under Seal
                  6              Appendix 1                              Entire Document            Defendants
                  7              Appendix 2                              Entire Document            Waymo; Defendants
                                 Appendix 3A                             Entire Document            Defendants
                  8              Appendix 3B                             Entire Document            Waymo; Defendants
                                 Appendix 4                              Entire Document            Defendants
                  9              Appendix 5                              Entire Document            Defendants
                                 Appendix 6                              Entire Document            Waymo; Defendants
                 10
                                 Appendix 7                              Entire Document            Defendants
                 11              Appendix 8                              Entire Document            Waymo; Defendants
                                 Appendix 9                              Entire Document            Waymo; Defendants
                 12              Appendix 10                             Entire Document            Waymo; Defendants
                                 Appendix 11                             Entire Document            Defendants
                 13
                                 Appendix 12                             Entire Document            Defendants
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                        I.     LEGAL STANDARD
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                               Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
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                        portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under
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                        the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored
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                        to seek sealing only of sealable material.” Id. In the context of non-dispositive motions, materials
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                        may be sealed so long as the party seeking sealing makes a “particularized showing” under the “good
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                        cause” standard of Federal Rule of Civil Procedure 26(c). Kamakana v. City & Cnty. of Honolulu,
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                        447 F.3d 1172, 1180 (9th Cir. 2006) (quoting Foltz v. State Farm Mutual Auto Insurance Co., 331
                 23
                        F.3d 1122, 1135, 1138 (9th Cir. 2003)).
                 24

                 25 II.        THE COURT SHOULD SEAL WAYMO’S CONFIDENTIAL INFORMATION

                 26            The Court should seal the documents identified by Waymo in the table above. Waymo seeks

                 27 to file this information under seal because it discloses Waymo’s trade secrets. See Declaration of

                 28 Felipe Corredor (“Corredor Decl.”) ¶¶ 3-5. Courts have determined that trade secret information

01980-00104/9839362.1                                                                            CASE NO. 3:17-cv-00939-WHA
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                                                                                       WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                  1 merits sealing. Music Grp. Macao Commercial Offshore Ltd. v. Foote, No. 14-cv-03078, 2015 WL

                  2 3993147, at *1 (N.D. Cal. June 30, 2015) (quoting Kamakana, 447 F.3d at 1179); see also Brocade

                  3 Commc’ns Sys., Inc. v. A10 Networks, Inc., No. C 10-3428, 2013 WL 211115, at *1, *3 (N.D. Cal.

                  4 Jan. 17, 2013) (granting request to seal document that “consists entirely of descriptions of Brocade’s

                  5 trade secrets”). Confidential business information that, if released, may “harm a litigant’s competitive

                  6 standing” also merits sealing. See Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99 (1978).

                  7 Waymo seeks to seal trade secrets that fit squarely within these categories. Corredor Decl. ¶¶ 3-5.

                  8 Waymo maintains this information as a trade secret (see Dkt. 25-31) and ensures the information

                  9 remains secret with strict secrecy and security protocols (see Dkt. 25-47; Dkt. 25-49.). See Corredor

                 10 Decl. ¶ 4. Waymo has narrowly tailored its requests to only information meriting sealing. Id. ¶ 5. In

                 11 fact, both Music Group and Brocade found the confidential information at issue in those cases met the

                 12 heightened “compelling reasons” standard for sealing. Music Grp., 2015 WL 3993147, at *1;

                 13 Brocade, 2013 WL 211115, at *1, *3. The information that Waymo seeks to seal, therefore, also

                 14 meets this heightened standard. The disclosure of Waymo’s trade secret information would harm

                 15 Waymo. Corredor Decl. ¶ 4. Moreover, the scope of information that Waymo is seeking to seal is

                 16 consistent with other administrative motions to seal that have already been granted by the Court in this

                 17 case. (See, e.g., Dkt. 416, 414, 406, 393, 392.) Thus, the Court should grant Waymo’s administrative

                 18 motion to seal.
                 19 III.     DEFENDANTS’ CONFIDENTIAL INFORMATION
                 20          Waymo only seeks to seal the documents identified as designated by Defendants in the table

                 21 above because Waymo believes such information is considered confidential or non-public by

                 22 Defendants. Corredor Decl. ¶ 6. Waymo takes no position as to the merits of sealing any of

                 23 designated material, and expects Defendants to file declarations in accordance with the Local Rules.

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                                                                       -3-
                                                                                   WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                  1 IV.     CONCLUSION
                  2         In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the

                  3 above listed documents accompany this Administrative Motion. For the foregoing reasons,

                  4 Waymo respectfully requests that the Court grant Waymo’s administrative motion to file under

                  5 seal.

                  6

                  7 DATED: February 4, 2018                    QUINN EMANUEL URQUHART & SULLIVAN,
                                                               LLP
                  8
                                                                By /s/ Charles Verhoeven
                  9
                                                                   Charles Verhoeven
                 10                                                Attorneys for WAYMO LLC

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                                                                               WAYMO’S ADMINISTRATIVE MOTION TO SEAL
